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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
            v.                       ) Case No. 17-cr-201-1-ABJ
                                     )
PAUL J. MANAFORT, JR.,               )
                                     )
                  Defendant.         )
____________________________________)
                                     )
IN RE: PETITIONS FOR RELIEF          )
CONCERNING CONSENT ORDER OF )          Case No. 1:18-mc-00167-ABJ
FORFEITURE                           )
____________________________________)

                            FINAL ORDER OF FORFEITURE AS TO
                     721 FIFTH AVENUE, UNIT 43G, NEW YORK, NY 10022

        WHEREAS, the United States filed a Motion for a Final Order of Forfeiture, and the

Court has reviewed the underlying record and makes the following findings:

        a.       On September 14, 2018, a written Plea Agreement was filed with this Court and

signed by the defendant, Paul J. Manafort, Jr., and his counsel, in which the defendant agreed to

plead guilty to a Superseding Criminal Information ("Information") charging, inter alia, a

conspiracy to violate the Foreign Agents Registration Act ("FARA"), in violation of Title 18,

United States Code, Sections 371 and 3551 et seq. and Title 22, United States Code, Sections

612, 618(a)(l), and 618(a)(2), and the defendant has pled guilty to that offense ("Count One").

Cr. Dkt. Nos. 419, 422, 423. 1

        b.       The Information gave notice that upon conviction of Count One, the United States

would seek the forfeiture of any property real or personal, which constitutes or is derived from


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 Docket entries from United States v. Paul J. Manafort, Jr., Case No. 17-cr-201-1 (D.D.C.) are referred to as “Cr.
Dkt. No.”. Docket entries from the miscellaneous case number for the ancillary proceedings In Re: Petitions for
Relief Concerning Consent Order of Forfeiture, Case No: 1:18-mc-167 (D.D.C.) are referred to as “Mc. Dkt. No.”.

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proceeds traceable to the offense alleged in Count One, including, inter alia, a conspiracy to

violate FARA, which property is subject to forfeiture pursuant to Title 18, United States Code,

Section 981(a)(l)(C) and Title 28, United States Code, Section 2461(c). Cr. Dkt. No. 419. The

Information further alleged that nine specific properties were subject to forfeiture, including,

inter alia, “All funds held in account number XXXX7988 at Charles A. Schwab & Co. Inc., and

any property traceable thereto…” (the “Schwab Account”). Id. at ¶ 69.

       c.      The Information further alleged that the United States would seek a personal

money judgment of forfeiture against the defendant representing the value of any property, real

or personal, which constitutes or is derived from proceeds traceable to the offenses alleged in

Count One, including, inter alia, a conspiracy to violate FARA, which property is subject to

forfeiture pursuant to Title 18, United States Code, Section 981(a)(l)(C) and Title 28, United

States Code, Section 2461(c), and that such a money judgment of forfeiture was "to be offset by

the forfeiture of any specific property." Cr. Dkt. No. 419.

       d.      The Information alleged that, if any of the property subject to forfeiture, as a

result of any act or omission of the defendant, inter alia, has been transferred or sold to, or

deposited with a third party, or has been commingled with other property that cannot be

subdivided without difficulty, the United States would seek forfeiture of any other property of

said defendant in substitution for such property ("Substitute Property") pursuant to 18 U.S.C. §

982(b) and 28 U.S.C. § 2461(c), incorporating 21 U.S.C. § 853(p). Cr. Dkt. No. 419.

       e.      In his Plea Agreement, the defendant admitted to the forfeiture allegations in the

Information, and, in his Statement of the Offenses and Other Acts ("Statement"), he admitted

that he obtained at least $11,000,000 as a result of his conspiracy to violate the FARA in

violation of 18 U.S.C. § 371, 22 U.S.C. §§ 612 and 618. Cr. Dkt. No. 422 at 10, 423 at 2-3.



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       f.      In his Plea Agreement, the defendant consented, inter alia, to the forfeiture of the

following property in lieu of the Schwab Account that was identified in the Information as

subject to forfeiture as proceeds traceable to the conspiracy to violate FARA offense alleged in

Count One, or property traceable thereto, pursuant to 18 U.S.C. § 981(a)(l)(C) and 28 U.S.C. §

2461(c) (the “Fifth Avenue Property”):

               The real property and premises commonly known as 721 Fifth Avenue,
               #43G, New York, New York, 10022.

Cr. Dkt. No. 422 at ¶ 12.

       g.      The Fifth Avenue Property is more specifically described as follows:

               The residential Unit (The "Unit") known as Unit No. 43-G, in the premises known as
               Trump Tower Condominium and by the street numbers 721-725 Fifth Avenue,
               Borough of Manhattan, City, County and State of New York, being designated and
               described as Unit No. 43-G in the Declaration Establishing a plan for condominium
               ownership of said premises under Article 9-B of the Real Property Law of the State
               of New York (The New York Condominium Act") dated 2/24/1983 and recorded in
               the New York County Office of the Register of the City of New York (The "City
               Register's Office") on 3/23/1983 in Reel 674, Page 848 (Hereinafter, referred to as
               the "Declaration") and also designated as Tax Lot 1112 in Block 1292 of Section 5 of
               the Borough of Manhattan on the Tax Map of the Real Property Assessment
               Department of the City of New York and on the Floor Plans of building, certified by
               Swanke Hayden Connell and Partners, Architects, on 2/2/1983 and filed with the
               Real Property Assessment Department of the City of New York on 3/18/1983 as
               Condominium Plan No. 86 and Also filed in the City Register's Office on 3/23/1983
               as Condominium Plan No. 86. Together with an undivided .2644227 percent interest
               in the common elements (as such term is defined in the declaration). The premises in
               which the unit is located is more particularly described herein as Parcel A.
               PARCEL A: All that certain lot, piece or parcel of land, situate, lying and being in the
               Borough of Manhattan, City, County and State of New York, Bounded and described
               as follows: Beginning at the corner formed by the intersection of the Northerly side
               of East 56th Street with the Easterly side of Fifth Avenue; Running thence Easterly
               along the said Northerly side of East 56th Street, 175 feet; Thence Northerly parallel
               with said Easterly side of Fifth Avenue and part of the distance through A Party Wall,
               100 feet 5 inches to the Center Line of the Block; Thence Westerly along said Center
               Line of the Block, 50 Feet; Thence Northerly parallel with the Easterly side of Fifth
               Avenue, 15 Feet; Thence Westerly parallel with the Northerly side of East 56 Street
               125 feet to the Easterly side of Fifth Avenue, and Thence Southerly along the
               Easterly side of Fifth Avenue, 115 feet 5 inches to the point or place of Beginning.
               PARCEL B: (AFFECTS COMMON ELEMENTS) All that certain lot, piece or
               parcel of land, situate, lying and being in the Borough of Manhattan, City, County
               and State of New York, bounded and described as follows: Beginning at a point on

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                  the Southerly side of East 57th Street, distant 125 Feet Easterly from the intersection
                  of the Easterly side of Fifth Avenue and the Southerly side of 57th Street; Thence
                  Southerly and parallel with the Easterly side of Fifth Avenue, 100 feet 5 inches;
                  Thence Easterly and parallel with the Southerly side of 57th Street, 50 Feet; Thence
                  Northerly and again parallel with the Easterly side of Fifth Avenue, 100 feet 5 inches
                  to the Southerly side of 57th Street; Thence Westerly along the Southerly side of 57th
                  Street 50 feet to the point or place of Beginning.
                  APN: Block 1292, Lot 1112

        h.        The defendant further agreed that the Fifth Avenue Property could additionally be

forfeited as Substitute Property pursuant to 18 U.S.C. § 982(b), 21 U.S.C. § 853(p) and 28

U.S.C. § 2461(c). Cr. Dkt. No. 422 at 11.

        i.        On October 10, 2018, with the defendant’s consent, the Court entered a Consent

Order of Forfeiture signed by the Court on October 9, 2018, constituting a preliminary order of

forfeiture (“Consent Order of Forfeiture”). Cr. Dkt. No. 443. In the Consent Order of Forfeiture,

this Court found, based on the evidence and information before it, including the defendant’s Plea

Agreement, that the Fifth Avenue Property was subject to forfeiture, and the Court so ordered its

forfeiture. Id.

        j.        The United States established the requisite nexus between the Schwab Account

and the defendant’s offense, and that the defendant has an interest in the Fifth Avenue Property,

which was forfeited in lieu of the Schwab Account.

        k.        On March 13, 2019, the defendant was sentenced and the Court entered an

amended Order of Forfeiture pursuant to Rule 32.2(b)(1) and (b)(2) of the Federal Rules of

Criminal Procedure (“March 13, 2019 Order of Forfeiture”). In the March 13, 2019 Order of

Forfeiture, the Court again found that the Fifth Avenue Property was subject to forfeiture

pursuant to 18 U.S.C. §§ 981(a)(1)(C), 982(b), 21 U.S.C. § 853(p) and 28 U.S.C. § 2461(c) and

so ordered its forfeiture. The Court also found that the defendant obtained at least $11,000,000

in proceeds from the conspiracy to violate FARA alleged in Count One, for which he was


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convicted, and, accordingly, entered a Personal Money Judgment against the defendant in the

amount of $11,000,000 pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c). Cr. Dkt.

No. 549.

       l.      The March 13, 2019 Order of Forfeiture decreed that the net proceeds realized by

the United States upon the disposition of forfeited properties, including the Fifth Avenue

Property, be credited to the Personal Money Judgment of Forfeiture. Cr. Dkt. No. 549.

       m.      The March 13, 2019 Order of Forfeiture was final as to the defendant upon its

entry, and was made part of his sentence and included in the judgment pursuant to Rule

32.2(b)(4) of the Federal Rules of Criminal Procedure. Cr. Dkt. Nos. 549, 556, 556-1.

       n.      The Fifth Avenue Property was titled to Paul Manafort and Kathleen Manafort.

       o.      In his Plea Agreement, the defendant, in addition to agreeing to the forfeiture,

represented that “he is either the sole and rightful owner and that no other person or entity has

any claim or interest, or that he has secured the consent from any other individuals or entities

having an interest in the [Fifth Avenue Property] to convey their interests in the [Fifth Avenue

Property] to him prior to the entry of the Order of Forfeiture (with the exception of previously

disclosed mortgage holders.).” Cr. Dkt. No. 422 at 12.

       p.      In accordance with 21 U.S.C. § 853(n)(1), Rule 32.2(b)(6)(C) of the Federal

Rules of Criminal Procedure, and Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty

or Maritime Claims and Asset Forfeiture Actions (“the Supplemental Rules”), a Notice of

Forfeiture with respect to the properties named in the Consent Order of Forfeiture, including the

Fifth Avenue Property, was posted on an official government internet site (www.forfeiture.gov)

for at least 30 consecutive days, beginning on October 13, 2018 and ending on November 11,




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2018. Proof of publication was filed with the Court on March 11, 2019 as an attachment to the

United States’ Declaration of Notice and Publication. Cr. Dkt. No. 545.

       q.      The published notice explained that any person asserting a legal interest in the

properties named in the Consent Order of Forfeiture, including the Fifth Avenue Property, was

required to file a petition with the Court within sixty (60) days from the first day of publication

of the notice on the government internet site, and that if no such petitions were filed within the

filing period, the United States would have clear title to the properties. Cr. Dkt. No. 545.

       r.      In accordance with 21 U.S.C. § 853(n)(1), Rule 32.2(b)(6)(D) of the Federal

Rules of Criminal Procedure, and Supplemental Rules G(4)(b)(iii)-(v), the United States also

sent direct written notice to any persons who reasonably appeared to be a potential claimant with

standing to contest the forfeiture in the ancillary proceeding or who were known to have alleged

an interest in the forfeited property, by means reasonably calculated to reach them, as described

in the United States’ Declaration of Notice and Publication, including, but not limited to:

Kathleen Manafort, UBS Bank USA (“UBS Bank”), and the condominium association, Trump

Tower Condominium. Cr. Dkt. No. 545.

       s.      The United States has complied with Rule 32.2(b)(6) of the Federal Rules of

Criminal Procedure concerning direct written notice and notice by publication, as described in

the United States Declaration of Notice and Publication. Cr. Dkt. Nos. 549, 556-1. The content

of the notice was compliant with Rule 32.2(b)(6) and no further notice is required. Id. at ¶4.

       t.      Following notice of the Consent Order of Forfeiture, two interested parties

asserted an interest in the Fifth Avenue Property: UBS Bank and the Residential Board of Trump

Tower Condominium. See Mc. Dkt. Nos. 4, 13. Kathleen Manafort did not file a petition.




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         u.    No other petitions were filed or made in this action or under the miscellaneous

case number assigned to the ancillary proceedings in this case, In Re: Petitions for Relief

Concerning Consent Order of Forfeiture, Case No: 1:18-mc-167, with respect to the Fifth

Avenue Property. No other parties have appeared to contest the forfeiture of the Fifth Avenue

Property to date and the statutory time periods in which to do so have expired.

         v.    On February 21, 2019, the Court endorsed a Stipulation and Order of Settlement

between the United States and UBS Bank resolving the petition of UBS Bank, (the “UBS Bank

Stipulation and Order”), a copy of which is attached hereto as Appendix 1 and which is

incorporated herein by reference as if set out in full. Mc. Dkt. No. 43 (docketed on February 22,

2019).

         w.    On March 1, 2019, the Court endorsed a Stipulation and Order of Settlement

between the United States and the Residential Board of Trump Tower Condominium, acting on

its own behalf and on behalf of Trump Tower Condominium, resolving its petition (the “Trump

Tower Condominium Stipulation and Order”), a copy of which is attached hereto as Appendix 2

and which is incorporated herein by reference as if set out in full. Mc. Dkt. No. 47 (docketed on

March 4, 2019).

         x.    Pursuant to 21 U.S.C. § 853(n)(7) and Fed. R. Crim. P. 32.2(c)(2), the United

States shall have clear title to any forfeited property following the Court’s disposition of all

petitions and the expiration of the time period provided for the filing of petitions.

NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

         1.    Pursuant to 18 U.S.C. §§ 981(a)(1)(C), 982(b), 21 U.S.C. § 853(p), 28 U.S.C. §

2461(c), and Rule 32.2 of the Federal Rules of Criminal Procedure, all right, title and interest in

the following property is hereby forfeited to the United States of America:



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               The real property and premises commonly known as 721 Fifth
               Avenue, #43G, New York, New York, 10022 (Block 1292, Lot
               1112), the sale thereof being subject to the terms of the February
               21, 2019 UBS Bank Stipulation and Order and the March 1, 2019
               Trump Tower Condominium Stipulation and Order, copies of
               which are attached as Appendix 1 and Appendix 2.

         2.    The forfeiture of the Fifth Avenue Property was made final as to the defendant

and made part of the sentence and included in the judgment on March 13, 2019, under Rule

32.2(b)(4) of the Federal Rules of Criminal Procedure.

         3.    The United States has clear title to the Fifth Avenue Property pursuant to Federal

Rule of Criminal Procedure 32.2(c)(2) and 21 U.S.C. § 853(n)(7), and, subject to the UBS Bank

Stipulation and Order and the Trump Tower Condominium Stipulation and Order, any and all

interests that any other third party may have had in the Fifth Avenue Property, including any

interests of Kathleen Manafort, are hereby extinguished.

         4.    The United States Marshals Service, or any other duly authorized law

enforcement official, shall dispose of the Fifth Avenue Property according to law and the terms

of the UBS Bank Stipulation and Order and the Trump Tower Condominium Stipulation and

Order.

         5.    Nothing in this Order shall affect any property subject to the March 13, 2019,

Order of Forfeiture other than the Fifth Avenue Property or any petition asserting an interest in

any such other property.

         6.    Any net sale proceeds realized by the United States shall be credited to the

Personal Money Judgment of Forfeiture against the defendant entered on March 13, 2019.

         7.    The Court retains jurisdiction to take additional action, enter further orders, and

amend this and any future orders as necessary to implement and enforce this Order.




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      8.    The Clerk of the Court is hereby directed to send copies to all counsel of record.



SO ORDERED, this ______            May
                   30th day of _______________, 2019




                                          THE HONORABLE AMY BERMAN JACKSON
                                          UNITED STATES DISTRICT JUDGE




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                          APPENDIX 1

            Stipulation and Order of Settlement Regarding
                      Petition of UBS Bank USA
       and 721 Fifth Avenue, #43G, New York, New York 10022
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                           APPENDIX 2

             Stipulation and Order of Settlement Regarding
      Petition of Residential Board of Trump Tower Condominium
        and 721 Fifth Avenue, #43G, New York, New York 10022
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